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                   EXHIBIT A
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                                                                           Plaintiff’s Proposed               Defendants’ Proposed
Disputed Claim Term                Patent, Asserted Claims
                                                                              Construction                        Construction

“transceiver”                     ’627 patent, claims 20 and 26       “communications device capable         “communications device
                                                                      of transmitting and receiving data     capable of transmitting and
                                  ’041 patent, claims 1 and 14
                                                                      wherein the transmitter portion        receiving data”
                                  ’008 patent, claims 1 and 14        and receiver portion share at least
                                                                                                             Intrinsic Evidence
                                  ’610 patent, claims 7 and 31        some common circuitry”
                                                                                                             See, e.g., ’627 at 3:24-51.2
                                  ’427 patent, claims 7 and 29        Intrinsic Evidence
                                                                      See, e.g., Ex. D (’008 patent),1
                                                                      1:25–32, 3:55–57, FIG. 1.

“scramble the phase               ’627 patent, claims 20 and 26       “adjust the phase characteristics of   “adjust the phase
characteristics of the                                                the carrier signals by pseudo-         characteristic of each of the
                                  ’041 patent, claims 1 and 14
plurality of carrier signals”                                         randomly varying amounts”              plurality of carrier signals”
                                  ’008 patent, claims 1 and 14
                                                                      Intrinsic Evidence                     Intrinsic Evidence
                                  ’610 patent, claims 7 and 31
                                                                      See, e.g., Ex. D (’008 patent),        See, e.g., ’627 at 2:33-40,
                                  ’427 patent, claims 7 and 29        Title, Abstract, 2:28–30, 2:34–3:3,    2:55-65, 2:67-3:2, 4:33-36,
                                                                      4:29–63, 5:25–31, FIGS. 1 and 2.       4:43-48, 4:52-54, 4:57-62,
                                                                                                             5:1-8, 5:14-17, 6:32-35, 6:47-
                                                                                                             49, 6:59-62, Figure 2.




1
    The Family 4 patents share a common specification. For brevity, Plaintiff’s citations are to the ’008 patent (Ex. D).
2
    Defendants’ citations are to the ’627 patent (Ex. B).


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                                                                     Plaintiff’s Proposed                 Defendants’ Proposed
Disputed Claim Term              Patent, Asserted Claims
                                                                        Construction                          Construction

“substantially scramble the     ’627 patent, claims 20 and 26   “the phase characteristics of the        Indefinite
phase characteristics of the                                    carrier signals are scrambled to
                                ’041 patent, claims 1 and 14                                             Intrinsic Evidence
plurality of carrier signals”                                   produce a transmission signal with
                                ’008 patent, claims 1 and 14    a reduced peak-to-average power          See, e.g., ’627 at 1:26-2:26.
                                ’610 patent, claims 7 and 31    ratio (PAR)”
                                ’427 patent, claims 7 and 29    Intrinsic Evidence
                                                                See, e.g., Ex. D (’008 patent),
                                                                Abstract, 2:44–47, 2:66–3:3, 4:32–
                                                                38, FIGS. 1 and 2.

“multiple carrier signals       ’041 patent, claims 1 and 14    “a first carrier signal is used by the   Indefinite
corresponding to the                                            first multicarrier transceiver to
                                ’610 patent, claims 7 and 31                                             Intrinsic Evidence
plurality of phase shifted                                      demodulate the value of a bit of
and scrambled carrier           ’427 patent, claims 7 and 29    the received bit stream and at least     See, e.g., Ex. G (ʼ134
signals are used by the first                                   one more carrier signal is used by       provisional) at 1-2; ʼ627 at
[multicarrier] transceiver to                                   the first multicarrier transceiver to    2:10-20, 4:52-5:8.
demodulate a same [input]                                       demodulate the value of the same
bit value of the received bit                                   bit of the received bit stream,
stream”                                                         wherein the carrier signals
                                                                correspond to the plurality of
                                                                phase-shifted and scrambled
                                                                carrier signals.”
                                                                Intrinsic Evidence
                                                                See, e.g., Ex. D (’008 patent),
                                                                2:16–25, 3:57–62, 4:43–47, FIG.
                                                                1.




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                                                                     Plaintiff’s Proposed                 Defendants’ Proposed
Disputed Claim Term               Patent, Asserted Claims
                                                                        Construction                          Construction

“multiple carrier signals        ’008 patent, claims 1 and 14   “a first carrier signal is used by the   Indefinite
corresponding to the                                            first multicarrier transceiver to        Intrinsic Evidence
scrambled carrier signals are                                   modulate the value of a bit and at
used by the first multicarrier                                  least one more carrier signal is         See, e.g., Ex. G (ʼ134
transceiver to modulate the                                     used by the first multicarrier           provisional) at 1-2; ʼ627 at
same bit value”                                                 transceiver to modulate the value        2:10-20, 4:52-5:8.
                                                                of the same bit, wherein the carrier
                                                                signals correspond to the
                                                                scrambled carrier signals.”
                                                                Intrinsic Evidence
                                                                See, e.g., Ex. D (’008 patent),
                                                                2:16–25, FIG. 1.

“carrier signals for             ’627 patent, claims 20, 26     “carrier signals that are used by a      “carrier signals that are used
modulating an input bit                                         multicarrier transceiver to              to modulate an input bit
                                 ’041 patent, claims 1, 14
stream”                                                         modulate an input bit stream”            stream”
                                 ’008 patent, claims 1, 14
                                                                Intrinsic Evidence                       Intrinsic Evidence
                                                                See, e.g., Ex. D (’008 patent),          See, e.g., ’627 at Abstract,
                                                                1:33–47, 3:63–4:5, 4:14–25, FIG.         2:41-42, 2:66-3:2.
                                                                1.




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                                                                 Plaintiff’s Proposed            Defendants’ Proposed
Disputed Claim Term             Patent, Asserted Claims
                                                                    Construction                     Construction

“phase shift”                  ’627 patent, claims 20, 26   “the amount by which a phase is     Defendants Zhone
                                                            (or will be) shifted”               Technologies, Inc., ZyXEL
                               ’041 patent, claims 1, 14
                                                            Intrinsic Evidence                  Communications, Inc.,
                               ’008 patent, claims 1, 14                                        ZyXEL Communications
                                                            See, e.g., Ex. D (’008 patent),     Corp., and AdTRAN, Inc.
                               ’610 patent, claims 7, 31
                                                            6:46–8:17.                          propose:
                               ’427 patent, claims 7, 29
                                                                                                “the amount by which to
                                                                                                adjust the phase”
                                                                                                Defendant 2Wire, Inc.
                                                                                                proposes:
                                                                                                “angle by which the phase of
                                                                                                a carrier signal is rotated”
                                                                                                Intrinsic Evidence
                                                                                                See, e.g., ’627 at 4:33-36,
                                                                                                5:18-21, 6:46-49, 2:10-26,
                                                                                                6:65-8:17.

“[the] combining of a phase    ’041 patent, claim 1         “adjusting the phase of each        Indefinite
for each carrier signal with                                carrier signal by an amount
                               ’610 patent, claims 7, 31                                        Intrinsic Evidence
the phase characteristic of                                 computed for that carrier signal”
that respective carrier        ’427 patent, claims 7, 29                                        See, e.g., ʼ627 at 1:34-35.
                                                            Intrinsic Evidence
signal”
                                                            See, e.g., Ex. D (’008 patent),
                                                            4:43-47, 3:57–62, 6:46–8:17.




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                                                                Plaintiff’s Proposed      Defendants’ Proposed
Disputed Claim Term             Patent, Asserted Claims
                                                                   Construction               Construction

“computing a phase shift for   ’627 patent, claims 20, 26   Plain and ordinary meaning   “computing an amount by
each carrier signal”                                                                     which the phase of each
                               ’008 patent, claims 1, 14
                                                                                         carrier signal will be
                                                                                         adjusted”
                                                                                         Intrinsic Evidence
                                                                                         See, e.g., ’627 at 2:33-40,
                                                                                         2:55-65, 4:33-36, 4:52-54,
                                                                                         5:1-8, 5:8-21, 6:32-35, 6:47-
                                                                                         49, 6:59-62, Figure 2.

“a phase shift for each        ’041 patent, claims 1, 14    Plain and ordinary meaning   “a phase shift for each carrier
carrier signal is [at least]                                                             signal is computed [at least]
                               ’610 patent, claims 7, 31
based on”                                                                                based on”
                               ’427 patent, claims 7, 29
                                                                                         Intrinsic Evidence
                                                                                         See, e.g., ’627 at 2:30-3:2,
                                                                                         4:33-36, 4:52-5:8, 5:18-21,
                                                                                         6:32-35, 6:47-49, 6:59-62,
                                                                                         Figure 2.




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      Claim Term                 Patent, Asserted Claims            Agreed Construction

“multicarrier”                  ’627 patent, claims 20 and 26   “having multiple carrier
                                                                signals that are combined to
                                ’041 patent, claims 1 and 14
                                                                produce a transmission
                                ’008 patent, claims 1 and 14    signal”
                                ’610 patent, claims 7 and 31
                                ’427 patent, claims 7 and 29

“carrier”/”carrier              ’627 patent, claims 20 and 26   “signal[s] that can be
signal”/”carrier signals”                                       modulated to carry data”
                                ’041 patent, claims 1 and 14
                                ’008 patent, claims 1 and 14
                                ’610 patent, claims 7 and 31
                                ’427 patent, claims 7 and 29

“combining the phase shift      ’627 patent, claims 20, 26      “adjusting the phase of each
computed for each                                               carrier signal by an amount
                                ’041 patent, claim 14
respective carrier signal                                       computed for that carrier
with the phase characteristic   ’008 patent, claims 1, 14       signal”
of that carrier signal”
“combining of a phase shift
for each carrier signal with
the phase characteristic of
that respective carrier
signal”




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